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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BANCO SAN JUAN INTERNACIONAL, INC.,

Plaintiff,
23-cav-6414 (JGR)
- against -
ORDER

THE FEDERAL RESERVE BANK OF NEW
YORK, ET AL.,

Defendants.

JOHN G. KOELTL, District Judge:
The Court will file the October 24, 2023 Opinion without
the few redactions proposed by BSJI. The redactions are not

confidential and are already contained in publiciy filed

documents. See, e.g., Benvenuto Decl., € 10; Vazquez Decl., 7
Al, Ex. 23.
SO ORDERED.
Dated: New York, New York Ny so /
October 27, 2023 Cc ER, fo MeO

/ John G. Koeltl
United States District Judge

